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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                              20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO:

           20-cv-80512-RLR
           20-cv-81891-RLR

                             ORDER DECONSOLIDATING CASES

           This matter comes before the Court on the Notices of Voluntary Dismissal filed for the

   above-referenced cases. In light of the fact that these cases have been dismissed, it is ORDERED

   AND ADJUDGED that:

              1. The above-reference cases are DECONSOLIDATED from MDL proceeding

                  20-MD-2924.

              2. The above-reference cases shall remain CLOSED.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 17th day of March,

   2021.


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                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
